                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION

 STUDIO 417, INC.,                                   )
 Individually and on behalf of all                   )
 others similarly situated                           )
                                                     )
                 Plaintiff,                          )
                                                     )        Case No. 6:20-cv-03127
        vs.                                          )
                                                     )        JURY TRIAL DEMANDED
 THE CINCINNATI INSURANCE                            )
 COMPANY,                                            )
                                                     )
                        Defendant.


                                CLASS ACTION COMPLAINT

       Plaintiff Studio 417, Inc. (“Plaintiff”), individually and on behalf of all others similarly

situated, brings this class action against Defendant The Cincinnati Insurance Company

(“Defendant” or “Cincinnati”), and in support thereof states and alleges the following:

I.     NATURE OF THE ACTION

       1.       This action arises out of Defendant’s failure to provide insurance coverage for the

losses sustained and expenses incurred by Plaintiff because of the ongoing Coronavirus (COVID-

19) pandemic.

       2.       For many years, Plaintiff has operated hair salons in the Springfield metropolitan

area. Plaintiff’s operations have been and continue to be suspended and threatened by the novel

coronavirus, SARS-CoV-2, which causes the infectious disease COVID-19 (“COVID-19”).

       3.       To protect its business in the event that it suddenly had to suspend operations for

reasons outside of its control, or in order to prevent further property damage, Plaintiff purchased

insurance coverage from Defendant, including property coverage, as set forth in The Cincinnati

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Insurance Company’s Building and Personal Property Coverage Form and Business Income (and

Extra Expense) Coverage Form.

       4.       Defendant’s coverage forms provide “Business Income” coverage, which promises

to pay for actual loss due to the necessary suspension of operations caused by, among other things,

accidental physical loss or accidental physical damage to the covered property.

       5.       Defendant’s coverage forms also provide “Extra Expense” coverage, which

promises to pay the necessary expenses incurred to avoid or minimize the suspension of business

and to continue operations.

       6.       Defendant’s coverage forms also provide “Civil Authority” coverage, which

promises to pay for loss caused by action of civil authority that prohibits, among other things,

access to the premises.

       7.       Defendant’s coverage forms, under sections titled “Duties in the Event of Loss,”

require in the event of a loss that the policy holder take all reasonable steps to protect the Covered

Property from further damage, and keep a record of the expenses necessary to protect the Covered

Property, for consideration in the settlement of the claim.

       8.       Unlike some policies that provide Business Income (also referred to as “business

interruption”) coverage, Defendant’s coverage forms do not include, and are not subject to, any

exclusion for losses caused by viruses or communicable diseases.

       9.       Plaintiff was forced to suspend or reduce business at its hair salon due to COVID-

19 and the ensuing orders issued by civil authorities in Springfield, Missouri and the State of

Missouri, mandating the suspension of business for on-site services, as well as in order to take

necessary steps to prevent further damage and minimize the suspension of business and continue

operations.


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       10.     Upon information and belief, Defendant has, on a widescale and uniform basis,

refused to pay its insureds under its Business Income, Extra Expense, Civil Authority, and Sue and

Labor coverages for losses suffered due to COVID-19, any executive orders by civil authorities

that has required the necessary suspension of business, and any efforts to prevent further property

damage or to minimize the suspension of business and continue operations. In particular, The

Cincinnati Insurance Company has denied claims submitted by Plaintiff under its policies.

II.    THE PARTIES

       11.     Studio 417, Inc. is a Missouri corporation, with its principal place of business in

Springfield, Missouri. Plaintiff Salon 417, Inc. owns and operates salons located at 2144 E.

Republic Road, Springfield, Missouri 65804, 444 W. McDaniel Street, Springfield, Missouri, and

4303 S. National Avenue, Springfield, Missouri 65810.

       12.     Defendant is, and at all times relevant hereto has been, an insurance company

writing insurance policies and doing business in the State of Missouri, capable of suing and being

sued in the courts of this State. Defendant is a foreign corporation organized, incorporated and

existing under the laws of the State of Ohio, with its principal place of business at 6200 S. Gilmore

Road, Fairfield, Ohio 45014.

III.   JURISDICTION AND VENUE

       13.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, because

Plaintiff and Defendant are citizens of different states, and because: (a) the Class consists of at

least 100 members; (b) the amount in controversy exceeds $5,000,000 exclusive of interest and

costs; and (c) no relevant exceptions apply to this claim.

       14.     Venue is proper in this District under 28 U.S.C. § 1391, because a substantial part

of the events or omissions giving rise to the claims occurred, or a substantial part of property that


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is the subject of this action is situated in this judicial district. The policy at issue cover plaintiff’s

facilities located in the State of Missouri and Plaintiff purchased the policy at issue from an

insurance broker located in the State of Missouri.

IV.     FACTUAL BACKGROUND

                                       The Insurance Policies

        15.     In return for the payment of a premium, Cincinnati issued Policy No. ECP0504158

to Plaintiff, for a policy period of September 18, 2018 to September 18, 2021, including a Building

and Personal Property Coverage Form and Business Income (And Extra Expense) Coverage Form.

Policy No. ECP0504158 is attached hereto and incorporated by reference as Exhibit 1. Upon

information and belief, the forms and endorsements to Exhibit 1 are materially the same as those

policies held by the members of the proposed class.

        16.     Plaintiff is the Named Insured under the policy, which remains in force.

        17.     Defendant is the effective and liable insurer of the policy and policies meeting the

class definition.

        18.      Plaintiff has performed all of its obligations under Policy No. ECP0504158,

including the payment of premiums. The Covered Property, with respect to the Building and

Personal Property Coverage Form, are hair salons located at, among locations, 2133 E. Republic

Road and 444 W. McDaniel Street, Springfield, Missouri.

        19.     Sometimes property insurance is sold on a specific peril basis, where coverage is

limited to risks of loss that are specifically listed (e.g., hurricane, earthquake, etc.). Many property

policies sold in the United States, however, including those sold by Cincinnati, are “all-risk”

property damage policies. These types of policies cover all risks of loss except for risks that are

expressly and specifically excluded.


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        20.     Under the heading “Covered Causes of Loss,” Defendant agreed to pay for “direct

‘loss’ unless the ‘loss’ is excluded or limited” in the policies.

        21.     Defendant did not exclude or limit coverage for losses from viruses in Plaintiff’s

policies or those of the other Class members. The policy did not exclude pandemic coverage,

communicable disease coverage or anything similar.

        22.     Losses due to COVID-19 are a Covered Cause of Loss under Defendant’s policies

with the Building and Personal Property Coverage Form and Business Income (And Extra

Expense) Coverage Form.

        23.     In the Building and Personal Property Coverage Form and Business Income (and

Extra Expense) Coverage Form, Cincinnati agreed to pay for its insureds’ actual loss of Business

Income sustained due to the necessary suspension of their operations during the “period of

restoration” caused by direct “loss” to property at the covered premises.

        24.     “Loss” is defined to mean accidental physical loss or accidental physical damage.

        25.     “Suspension” is defined to mean the slowdown or cessation of business activities

and that part or all of the covered premises is rendered untenable.

        26.       “Period of restoration” is defined to mean the period of time that begins at the

time of direct loss.

        27.     “Business Income” is defined to mean net income (net profit or loss before income

taxes) that would have been earned or incurred and continuing normal operating expenses

sustained, including payroll.

        28.     The presence of virus or disease can constitute physical loss of or damage to

property, as the insurance industry has recognized since at least 2006. When preparing so-called

“virus” exclusions to be placed in some policies, but not others, the insurance industry drafting


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arm—Insurance Services Office, Inc. or “ISO”—circulated a statement to state insurance

regulators that included the following:

            Disease-causing agents may render a product impure (change its quality or
            substance), or enable the spread of disease by their presence on interior building
            surfaces or the surfaces of personal property. When disease-causing viral or
            bacterial contamination occurs, potential claims involve the cost of replacement
            of property (for example, the milk), cost of decontamination (for example,
            interior building surfaces), and business interruption (time element) losses.
            Although building and personal property could arguably become contaminated
            (often temporarily) by such viruses and bacteria, the nature of the property itself
            would has a bearing on whether there is actual property damage. An allegation
            of property damage may be a point of disagreement in a particular case.

       29.        The ISO also created a new “amendatory endorsement” to exclude loss due to virus

or bacteria from coverage afforded by certain insurance policies. The ISO amendatory

endorsement states that there is “no coverage for loss or damage caused by or resulting from any

virus, bacterium or other microorganism that induces or is capable of inducing physical distress,

illness or disease” (the “Virus Exclusion”).

       30.        Some insurers added the Virus Exclusion to their policies that provide Business

Income (also referred to as “business interruption”) coverage. Cincinnati’s Building and Personal

Property Coverage Form and Business Income (And Extra Expense) Coverage Form, however, do

not include, and are not subject to, any exclusion for losses caused by viruses or communicable

diseases.

       31.        In the Building and Personal Property Coverage Form and Business Income (And

Extra Expense) Coverage Form, Defendant also agreed to pay necessary Extra Expense that its

insureds sustain during the “period of restoration” that the insureds would not has sustained if there

had been no direct loss to property caused by or resulting from a Covered Cause of Loss.

       32.        “Extra Expense” includes expenses to avoid or minimize the suspension of

business, continue operations, and to repair or replace property.

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       33.     Defendant also agreed to “pay for the actual loss of ‘Business Income’” sustained

“and necessary Extra Expense” sustained “caused by action of civil authority that prohibits access

to” the Covered Property when a Covered Cause of Loss causes direct damage to property other

than the Covered Property, the civil authority prohibits access to the area immediately surrounding

the damaged property, and “the action of civil authority is taken in response to dangerous physical

conditions resulting from the damage or continuation of the Covered Cause of Loss that caused

the damage….”

       34.     Defendant also agreed to pay for losses caused by the prevention of existing ingress

or egress at the premises. This is commonly known as “Ingress and Egress” coverage.

       35.     Defendant’s coverage forms, under sections titled “Duties in the Event of Loss,”

require in the event of a loss that the policy holder take all reasonable steps to protect the Covered

Property from further damage, and keep a record of the expenses necessary to protect the Covered

Property, for consideration in the settlement of the claim. This is commonly referred to as “Sue

and Labor” coverage. In this instance, Plaintiff was required to suspend operations to reduce the

spread of COVID-19 and further losses occasioned by its spread on Plaintiff’s premises.

       36.     Losses caused by COVID-19 and the related orders issued by local, state, and

federal authorities triggered the Business Income, Extra Expense, Civil Authority, Ingress and

Egress and Sue and Labor provisions of Defendant’s policies.

                           COVID-19 and the Covered Cause of Loss

       37.       Coronavirus (COVID-19) is a highly contagious virus that has rapidly spread and

continues to spread across the United States. It is a physical substance, human pathogen and can

be present outside the human body in viral fluid particles. According to the CDC, everyone is at

risk of getting COVID-19.


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       38.       COVID-19 is spread by a number of methods, including “community spread,”

meaning that some people has been infected and it is not known how or where they became

exposed. Public health authorities, including the CDC, have reported significant ongoing

community spread of the virus including instances of community spread in all 50 states.

       39.       The CDC has reported that a person can be become infected with COVID-19 by

touching a surface or object (like a table, floor, wall, furniture, desk, countertop, touch screen or

chair) that has the virus on it, and then touching their own mouth, nose or eyes. COVID-19 can

and does live on and/or remains capable of being transmitted and active on inert physical surfaces.

       40.       More specifically, COVID-19 infections are spread through droplets of different

sizes which can be deposited on surfaces or objects.

       41.       In addition, The New England Journal of Medicine reported finding that

experimentally-produced aerosols containing the virus remained infectious in tissue-culture

assays, with only a slight reduction in infectivity during a 3-hour period of observations. An April

2020 study published in the journal Emerging Infectious Diseases found a wide distribution of

COVID-19 on surfaces and in the air about 13 feet from patients in two hospital wards. This means

there has been a finding of COVID-19 in the air.

       42.       COVID-19 has been transmitted by way of human contact with surfaces and items

of physical property located at premises in Missouri.

       43.       COVID-19 has been transmitted by human to human contact and interaction with

premises in Missouri.

       44.       COVID-19 has been transmitted by way of human contact with airborne COVID-

19 particles emitted into the air at premises in Missouri.




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       45.       The presence of any COVID-19 particles renders items of physical property

unsafe and the premises unsafe.

       46.       The presence of any COVID-19 particles on physical property impairs its value,

usefulness and/or normal function.

       47.       The presence of any COVID-19 particles causes direct physical harm, direct

physical damage and direct physical loss to property.

       48.       The presence of people infected with or carrying COVID-19 particles renders

physical property in their vicinity unsafe and unusable, resulting in direct physical loss to that

property.

       49.       The presence of people infected with or carrying COVID-19 particles at premises

renders the premises, including property located at that premises unsafe, resulting in direct physical

loss to the premises and property.

       50.       Plaintiff’s premises likely have been infected with COVID-19 and it has suffered

direct physical loss to the property. The incubation period for COVID-19 is at least 14 days.

Current evidence shows that the first death from COVID-19 occurred as early as February 6, 2020

– weeks earlier than previously reported, suggesting that the virus has been circulated in the United

States far longer than previously assumed. It is likely customers, employees and/or other visitors

to the insured property over the last two plus months were infected with COVID-19 and thereby

infected the insured property with COVID-19.

       51.       To reduce the spread of the disease, the CDC has recommended that businesses

clean and disinfect all surfaces, prioritizing the most frequently touched surfaces.

       52.       COVID-19 has been declared a pandemic by the World Health Organization.




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       53.        The COVID-19 pandemic is a public health crisis that has profoundly impacted

American society, including the public’s ability to patronize hair salons, barber shops and other

establishments.

       54.        The presence of COVID-19 has caused civil authorities throughout the country to

issue orders requiring the suspension of business at a wide range of establishments, including civil

authorities with jurisdiction over Plaintiff’s businesses (the “Closure Orders”).

                                  The Missouri Closure Orders

       55.     On March 16, 2020, Ken McClure, the Mayor of the City of Springfield, Missouri,

issued a proclamation declaring a local state of civil emergency, stating that the continued spread

of COVID-19 presents an imminent threat of widespread illness and a threat to public health. The

proclamation was issued under Section 78-132 of the Springfield City Code in order to protect the

citizens of Springfield, Missouri and their property.

       56.     On March 17, 2020, Mayor McClure issued a civil authority order stating in

pertinent part that the COVID-19 virus is spread person to person through direct or proximate

contact and presents an imminent threat to public health and, as of March 16, 2020, three people

had tested positive for COVID-19 in Greene County, Missouri. Mayor McClure’s March 17, 2020

order limited public gatherings of 10 or more persons except in designated activities. The purpose

of the order was to mitigate and slow the spread of COVID-19 in the community.

       57.     On March 21, 2020, the Governor of the State of Missouri issued a civil authority

order limiting social gatherings of more than 10 people. That order went into effect on March 23,

2020. The purpose of the order was to mitigate and slow the spread of COVID-19 in the state.

       58.     On March 24, 2020, Mayor McClure issued a Second Proclamation of Civil

Emergency. On this date, he also provided notice of a civil authority order requiring all individuals


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to stay at home unless performing “essential activities,” and ordered all businesses to cease all in-

person operations unless declared an “essential business.” The order required hair salons and all

other businesses that provide personal services to suspend operations. The order was to take effect

at 12:01 a.m. on March 26, 2020 and expire in 30 days. The purpose of the order was to mitigate

and slow the spread of COVID-19 in the community.

         59.   The March 24, 2020 proclamation and March 26, 2020 order were issued under

Section 78-132 of the Springfield City Code in order to protect the citizens of Springfield, Missouri

and their property.

         60.   Plaintiff’s business did not and does not qualify as Essential Businesses and was

required to cease and/or significantly reduce operations at all its locations.

         61.   On April 3, 2020, the State of Missouri entered an order directing all residents in

Missouri to stay at home, imposing social distancing rules, limiting occupancy of buildings, and

reiterated that any entity that does not employ individuals to perform essential worker functions as

set forth in guidance provided by the U.S Department of Homeland Security, Cybersecurity &

Infrastructure Security Agency (CISA) shall adhere to limitations on social gatherings and social

distancing set forth in the Order. This order went into effect at 12:01 AM on April 6, 2020 and

was to remain in force until 11:59 PM on April 24, 2020. The purpose of the order was to mitigate

and slow the spread of COVID-19 in the state.

         62.   On April 6, 2020, Mayor McClure with the City of Springfield amended the Second

Proclamation of Civil Emergency to include the provisions of the State of Missouri’s April 3, 2020

order.

         63.   On April 16, 2020, the State of Missouri amended the April 3, 2020 order and

extended its enforcement to 11:59 PM on May 3, 2020. The purpose of the order was to mitigate


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and slow the spread of COVID-19 in the state.

          64.   On April 21, 2020, Mayor McClure amended the March 26, 2020 order and

extended its enforcement to 11:59 p.m. on May 3, 2020. The purpose of the order was to mitigate

and slow the spread of COVID-19 in the community.

          65.   The Missouri Closure Orders were issued in response to the rapid spread of

COVID-19 throughout Missouri and are civil authority orders requiring the suspension of

Plaintiff’s businesses.

          66.   As a response to COVID-19 and the Pandemic, the Governor of Missouri and

Mayor of the City of Springfield, Missouri have issued these orders pursuant to the authority vested

in them by the Missouri Constitution, the laws of Missouri and the ordinances of the City of

Springfield, Missouri.

          67.   Similarly, the Missouri Department of Health, pursuant to its authority under

Missouri law, has issued orders, including a Stay at Home Order.

          68.   The State of Missouri is a civil authority contemplated by Defendant’s policy.

          69.   The City of Springfield, Missouri is a civil authority contemplated by Defendant’s

policy.

          70.   The Governor of the State of Missouri is a civil authority contemplated by

Defendant’s policy.

          71.   The Mayor of Springfield, Missouri is a civil authority contemplated by

Defendant’s policy.

                          The Impact of COVID-19 and the Closure Orders

          72.   Loss of use of property that has not been physically altered constitutes “physical

loss or damage” for purposes of first-party property insurance.


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       73.     As the drafter of the policies, if Cincinnati had wished to exclude from coverage as

“physical loss or damage” loss of use of property that has not been physically altered or deformed,

it could have used explicit language stating such a definition, but it did not do so.

       74.     The presence of COVID-19 caused direct physical loss of or damage to the covered

property or “premises” under the Plaintiff’s policy, and the policies of the other Class members,

by denying use of and damaging the covered property, and by causing a necessary suspension of

operations during a period of restoration.

       75.     The Closure Orders prohibited access to and use of Plaintiff’s and the other Class

members’ Covered Property, and the area immediately surrounding damaged property, in response

to dangerous physical conditions resulting from the damage or continuation of the Covered Cause

of Loss that caused the damage.

       76.     The State of Missouri, through the Governor and Department of Health, and the

City of Springfield, Missouri, through the Mayor, have issued and continue to issue authoritative

orders governing Missourians and Missouri businesses, including the Plaintiff’s business, in

response to COVID-19 and the Pandemic, the effect of which have required and continue to require

Plaintiff to cease and/or significantly reduce operations at, and that have prohibited and continue

to prohibit access to, the premises described in the policy.

       77.     State and local governmental authorities and public health officials around the

United States acknowledge that COVID-19 and the Pandemic cause direct physical loss and

damage to property. For example: (a) The State of Colorado issued a Public Health Order

indicating that “COVID-19…physically contributes to property loss, contamination and

damage…” (b) The City of New York issued an Emergency Executive Order in response to

COVID-19 and the Pandemic, in part “because the virus physically is causing property loss and


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damage.” (c) Broward County, Florida issued an Emergency Order acknowledging that COVID-

19 “is physically causing property damage.” (d) the State of Washington issued a stay at home

Proclamation stating the “COVID-19 pandemic and its progression…remains a public disaster

affecting life, health [and] property.” (e) The State of Indiana issued an Executive Order

recognizing that COVID-19 has the “propensity to physically impact surfaces and personal

property.” (f) the City of New Orleans issued an order stating “there is reason to believe that

COVID-19 may spread amongst the population by various means of exposure, including the

propensity to attach to surfaces for a prolonged period of time, thereby spreading from surface to

person and causing property loss and damage in certain circumstances.” (g) the State of New

Mexico issued a Public Health Order acknowledging the “threat” COVID-19 “poses” to

“property.” (h) North Carolina issued a statewide Executive Order in response to the Pandemic not

only “to assure adequate protection for lives” but also to “assure adequate protection

of…property.” (i) The City of Los Angeles issued an Order in response to COVID-19 “because,

among other reasons, the COVID-19 virus can spread easily from person to person and it is

physically causing property loss or damage due to its tendency to attach to surfaces for prolonged

periods of time; and (j) The City of Kansas City, Missouri issued a Proclamation in response to

COVID-19 “to protect life and property”.

       78.     As a result of the presence of COVID-19 and the Closure Orders, Plaintiff and the

other Class members lost Business Income and incurred Extra Expense.

                        Plaintiff Submitted Notices of Loss to Cincinnati
                             and was Wrongfully Denied Coverage

       79.     Plaintiff submitted notices of loss to Cincinnati under the policy due to the

presence of COVID-19 and the Closure Orders, and Cincinnati denied those claims by letter

dated April 16, 2020.

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       80.     Upon information and belief, Cincinnati is using a form denial letter to deny

coverage to all its insureds with policies similar to Plaintiff and is otherwise uniformly refusing

to pay insureds under its standard policy for losses related to COVID-19.

V.     CLASS ACTION ALLEGATIONS

       81.     Plaintiff brings this action, individually and on behalf of all others similarly

situated, pursuant to Rules 23(a), 23(b)(1), 23(b)(2), 23(b)(3), and 23(c)(4), of the Federal Rules

of Civil Procedure.

       82.     Plaintiff seek to represent nationwide classes for business income coverage defined

as:

              a.       All persons and entities with Business Income coverage under a property

                       insurance policy issued by Cincinnati that suffered a suspension of business

                       due to COVID-19 at the premises covered by the business income coverage

                       (the “Business Income Declaratory Judgment Class”).

              b.       All persons and entities that: had Business Income coverage under a

                       property insurance policy issued by Cincinnati; suffered a suspension of

                       business related to COVID-19, at the premises covered by their Cincinnati

                       property insurance policy; made a claim under their property insurance

                       policy issued by Cincinnati; and were denied Business Income coverage by

                       Cincinnati for the suspension of business resulting from the presence or

                       threat of COVID-19 (the “Business Income Breach Class”).

       83.     Plaintiff seek to represent nationwide classes for extra expense coverage defined

as:

               a.      All persons and entities with Extra Expense coverage under a property


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                   insurance policy issued by Cincinnati that sought to minimize the

                   suspension of business in connection with COVID-19 at the premises

                   covered by their Cincinnati property insurance policy (the “Extra Expense

                   Declaratory Judgment Class”).

            b.     All persons and entities that: had Extra Expense coverage under a property

                   insurance policy issued by Cincinnati; sought to minimize the suspension

                   of business in connection with COVID-19 at the premises covered by their

                   Cincinnati property insurance policy; made a claim under their property

                   insurance policy issued by Cincinnati; and were denied Extra Expense

                   coverage by Cincinnati despite their efforts to minimize the suspension of

                   business caused by COVID-19 (the “Extra Expense Breach Class”).

      84.   Plaintiff seek to represent nationwide classes for civil authority coverage defined

as:

            a.     All persons and entities with Civil Authority coverage under a property

                   insurance policy issued by Cincinnati that suffered loss of Business Income

                   and/or Extra Expense caused by a Closure Order (the “Civil Authority

                   Declaratory Judgment Class”).

            b.     All persons and entities that: had Civil Authority coverage under a property

                   insurance policy issued by Cincinnati; suffered loss of Business Income

                   and/or Extra Expense caused by action of a civil authority; made a claim

                   under their property insurance policy issued by Cincinnati; and were denied

                   Civil Authority coverage by Cincinnati for the loss of Business Income

                   and/or Extra Expense caused by a Closure Order (the “Civil Authority


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                       Breach Class”).

       85.    Plaintiff seek to represent nationwide classes for sue and labor coverage defined as:

              a.       All persons and entities with a Sue and Labor provision under a property

                       insurance policy issued by Cincinnati that sought to prevent property

                       damage caused by COVID-19 by suspending or reducing business

                       operations, at the premises covered by their Cincinnati property insurance

                       policy (the “Sue and Labor Declaratory Judgment Class”).

              b.       All persons and entities that: had a Sue and Labor provision under a property

                       insurance policy issued by Cincinnati; sought to prevent property damage

                       caused by COVID-19 by suspending or reducing business operations, at the

                       premises covered by their Cincinnati property insurance policy; made a

                       claim under their property insurance policy issued by Cincinnati; and were

                       denied Sue and Labor coverage by Cincinnati in connection with the

                       suspension of business caused by COVID-19 (the “Sue and Labor Breach

                       Class”).

       86.             Plaintiff seek to represent nationwide classes for ingress and egress

coverage defined as:

              a.       All persons and entities with an Ingress and Egress provision under a

                       property insurance policy issued by Cincinnati that sought to prevent

                       property damage caused by COVID-19 by suspending or reducing business

                       operations, at the premises covered by their Cincinnati property insurance

                       policy (the “Ingress and Egress Declaratory Judgment Class”).




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               b.      All persons and entities that: had an Ingress and Egress provision under a

                       property insurance policy issued by Cincinnati; sought to prevent property

                       damage caused by COVID-19 by suspending or reducing business

                       operations, at the premises covered by their Cincinnati property insurance

                       policy; made a claim under their property insurance policy issued by

                       Cincinnati; and were denied Sue and Labor coverage by Cincinnati in

                       connection with the suspension of business caused by COVID-19 (the

                       “Ingress and Egress Breach Class”).

       87.     Plaintiff seeks to represent a Missouri subclass, or all policyholders who purchased

one of Defendant’s policies in Missouri and was denied coverage due to COVID-19.

       88.     Excluded from each defined Class are Cincinnati and any of its members, affiliates,

parents, subsidiaries, officers, directors, employees, successors, or assigns; governmental entities;

and the Court staff assigned to this case and their immediate family members. Plaintiff reserves

the right to modify or amend each of the Class definitions, as appropriate, during this litigation.

       89.     This action has been brought and may properly be maintained on behalf of each

Class proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

Numerosity—Federal Rule of Civil Procedure 23(a)(1).

       90.     The members of each defined Class are so numerous that individual joinder of all

Class members is impracticable. While Plaintiff is informed and believes that there are thousands

of members of each Class, the precise number of Class members is unknown to Plaintiff but may

be ascertained from Cincinnati’s books and records. Class members may be notified of the

pendency of this action by recognized, Court-approved notice dissemination methods, which may

include U.S. Mail, electronic mail, internet postings, and/or published notice.


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Commonality and Predominance—Federal Rule of Civil Procedure 23(a)(2) and 23(b)(3).

       91.    This action involves common questions of law and fact, which predominate over

any questions affecting only individual Class members, including, without limitation:

              a.      Cincinnati issued all-risk policies to the members of the Class in exchange

                      for payment of premiums by the Class members;

              b.      whether the Class suffered a covered loss based on the common policies

                      issued to members of the Class;

              c.      whether Cincinnati wrongfully denied all claims based on COVID-19;

              d.      whether Cincinnati’s Business Income coverage applies to a suspension of

                      business caused by COVID-19 and/or the Stay at Home Orders;

              e.      whether Cincinnati’s Extra Expense coverage applies to efforts to minimize

                      a loss caused by COVID-19 and/or the Stay at Home Orders;

              f.      whether Cincinnati’s Civil Authority coverage applies to a loss of Business

                      Income and Extra Expense sustained caused by the orders of state governors

                      and/or mayors requiring the suspension of businesses as a result of COVID-

                      19 and/or the Stay at Home Orders;

              g.      whether Cincinnati’s Sue and Labor provision applies to require Cincinnati

                      to pay for efforts to reduce damage caused by COVID-19 and/or the Stay at

                      Home Orders;

              h.      whether Cincinnati’s Ingress and Egress provision applies to required

                      Cincinnati to pay for losses caused by the inability to access the premises

                      caused by COVID-19 and/or the Stay at Home Orders;




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               i.      whether Cincinnati has breached its contracts of insurance through a blanket

                       denial of all claims based on business interruption, income loss related to

                       COVID-19 and the related closures; and

               j.      whether Plaintiff and the Class are entitled to an award of reasonable

                       attorney fees, interest and costs.

Typicality—Federal Rule of Civil Procedure 23(a)(3)

       92.     Plaintiff’s claims are typical of the other Class members’ claims because Plaintiff

and the other Class members are all similarly affected by Cincinnati’s refusal to pay under its

Business Income, Extra Expense, Civil Authority, Ingress and Egress and Sue and Labor

coverages. Plaintiff’s claims are based upon the same legal theories as those of the other Class

members. Plaintiff and the other Class members sustained damages as a direct and proximate result

of the same wrongful practices in which Cincinnati engaged.

Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

       93.     Plaintiff is an adequate Class and Missouri subclass representative because it is a

member of the class, its interests do not conflict with the interests of the other Class members

who they seek to represent, Plaintiff has retained counsel competent and experienced in complex

class action litigation, including successfully litigating cases similar to this one, where insurers

breached contracts with insureds by failing to pay the amounts owed under their policies, and

Plaintiff intend to prosecute this action vigorously. The interests of the above-defined Classes

will be fairly and adequately protected by Plaintiff and its counsel.

Inconsistent Adjudications and Impediments to Others—Federal Rule of Civil Procedure
23(b)(1).

       94.     Plaintiff seek class-wide adjudication as to the interpretation, and resultant scope,

of Cincinnati’s Business Income, Extra Expense, Civil Authority, Ingress and Egress, and Sue and

                                                  20

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Labor coverages. The prosecution of separate actions by individual members of the Classes would

create an immediate risk of inconsistent or varying adjudications that would establish incompatible

standards of conduct for Cincinnati. Moreover, the adjudications sought by Plaintiff could, as a

practical matter, substantially impair or impede the ability of other Class members, who are not

parties to this action, to protect their interests.

Declaratory and Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2).

        95.     Cincinnati acted or refused to act (or intends to refuse) on grounds generally

applicable to Plaintiff and the other Class members, thereby making appropriate final injunctive

relief and declaratory relief, as described below, with respect to the Class members.

Superiority—Federal Rule of Civil Procedure 23(b)(3).

        96.     A class action is superior to any other available means for the fair and efficient

adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. Defendant has acted or refused to act on grounds generally

applicable to the class and Missouri subclass. Individualized litigation creates a potential for

inconsistent or contradictory judgments and increases the delay and expense to all parties and the

court system. By contrast, the class action device presents far fewer management difficulties, and

provides the benefits of single adjudication, economies of scale, and comprehensive supervision

by a single court.

Issue Class and Modification of Class Definitions and Creation of Subclasses

        97.     In the alternative, Plaintiff reserves the right to seek certification of one or more

common issues pursuant to Rule 23(c)(4). In addition, Plaintiff reserves the right to modify the

definitions of the class and/or create subclasses either by amendment to the complaint or by motion

for class certification, including but not limited to subclasses for policyholders with each of the


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following policy provisions: Business Income, Civil Authority, Extra Expense, Ingress and Egress

and/or Sue and Labor and/or other subclasses that may be appropriate or necessary.

VI.     LEGAL CLAIMS FOR RELIEF

              COUNT I – Declaratory Judgment – Business Income Coverage
          (Brought on behalf of the Business Income Declaratory Judgment Class)

        98.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

        99.     Plaintiff brings this Count individually and on behalf of the other members of the

Business Income Declaratory Judgment Class and Missouri Subclass.

        100.    The Declaratory Judgment Act, 28 U.S.C. §§2201 and 2202, allows this Court to

declare the rights and other legal relations of the parties to this dispute.

        101.    Plaintiff’s Cincinnati policy, as well as those of the other Business Income

Declaratory Judgment Class members, are contracts under which Cincinnati was paid premiums

in exchange for its promise to pay Plaintiff and the other Business Income Declaratory Judgment

Class members’ losses for claims covered by the policy.

        102.    Plaintiff and the other Business Income Declaratory Judgment Class members have

complied with all applicable provisions of the policies and/or those provisions has been waived by

Cincinnati, or Cincinnati is estopped from asserting them, and yet Cincinnati has abrogated its

insurance coverage obligations pursuant to the policies’ clear and unambiguous terms and has

wrongfully and illegally refused to provide coverage to which Plaintiff and the other Business

Income Declaratory Judgment Class members are entitled.

        103.    Cincinnati has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Class has filed a claim.



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       104.    An actual case or controversy exists regarding Plaintiff and the other Business

Income Declaratory Judgment Class members’ rights and Cincinnati’s obligations under the

policies to reimburse Plaintiff for the full amount of Business Income losses incurred by Plaintiff

and the other Business Income Declaratory Judgment Class members in connection with

suspension of their businesses stemming from the COVID-19 pandemic.

       105.    Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Business Income Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

               a.     Plaintiff and the other Business Income Declaratory Judgment Class

                      members’ Business Income losses incurred in connection with the Closure

                      or Stay at Home Orders and the necessary interruption of their businesses

                      stemming from the COVID-19 pandemic are insured losses under their

                      policies;

               b.     Cincinnati is obligated to pay Plaintiff and the other Business Income

                      Declaratory Judgment Class members for the full amount of the Business

                      Income losses incurred and to be incurred in connection with the Closure

                      Orders during the period of restoration and the necessary interruption of

                      their businesses stemming from the COVID-19 pandemic; and

               c.     Plaintiff further seeks an injection enjoining Defendant from continuing to

                      engage in conduct in breach of its policies in regards to coverage decisions

                      under the Business Income coverage form and ordering Defendant to

                      comply with the terms of the policies in regards to coverage decisions.

                COUNT II – Breach of Contract – Business Income Coverage
                 (Brought on behalf of the Business Income Breach Class)

       106.    Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

                                                 23

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       107.     Plaintiff brings this Count individually and on behalf of the other members of the

Business Income Breach Class and Missouri Subclass.

       108.     Plaintiff’s Cincinnati policies, as well as those of the other Business Income Breach

Class members, are contracts under which Cincinnati were paid premiums in exchange for their

promise to pay Plaintiff and the other Business Income Breach Class members’ losses for claims

covered by the policy.

       109.     In the Building and Personal Property Coverage Form and Business Income (and

Extra Expense) Coverage Form, Cincinnati agreed to pay for its insureds’ actual loss of Business

Income sustained due to the necessary suspension of its operations during the “period of

restoration.”

       110.     A “slowdown or cessation” of business activities at the Covered Property is a

“suspension” under the policy, for which Cincinnati agreed to pay for loss of Business Income

during the “period of restoration” that begins at the time of direct loss.

       111.     “Business Income” means net income (net profit or loss before income taxes) that

would have been earned or incurred and continuing normal operating expenses sustained,

including payroll.

       112.     COVID-19 caused direct physical loss of or damage to Plaintiff’s and the other

Business Income Breach Class members’ Covered Properties, requiring suspension of operations

at the Covered Properties. Losses caused by COVID-19 thus triggered the Business Income

provision of Plaintiff and the other Business Income Breach Class members’ Cincinnati policies.

       113.     Plaintiff and the other Business Income Breach Class members have complied with

all applicable provisions of their policies and/or those provisions has been waived by Defendant,

or Defendant is estopped from asserting them, and yet Defendant has abrogated its insurance


                                                  24

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coverage obligations pursuant to the policies’ clear and unambiguous terms.

        114.    By denying coverage for any Business Income losses incurred by Plaintiff and the

other Business Income Breach Class members in connection with the COVID-19 pandemic,

Defendant has breached its coverage obligations under the policies.

        115.    As a result of Defendant’s breaches of the policies, Plaintiff and the other Business

Income Breach Class members have sustained substantial damages for which Defendant is liable,

in an amount to be established at trial.

               COUNT III – Declaratory Judgment – Extra Expense Coverage
            (Brought on behalf of the Extra Expense Declaratory Judgment Class)

        116.    Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

        117.    Plaintiff brings this Count individually and on behalf of the other members of the

Extra Expense Declaratory Judgment Class and Missouri Subclass.

        118.    The Declaratory Judgment Act, 28 U.S.C. §§2201 and 2202, allows this Court to

declare the rights and other legal relations of the parties to this dispute.

        119.    Plaintiff’ Cincinnati insurance policy, as well as those of the other Extra Expense

Declaratory Judgment Class members, are contracts under which Defendant was paid premiums

in exchange for its promise to pay Plaintiff and the other Extra Expense Declaratory Judgment

Class members’ losses for claims covered by the policy.

        120.    Plaintiff and the other Extra Expense Declaratory Judgment Class members has

complied with all applicable provisions of the policies and/or those provisions has been waived by

Defendant, or Defendant is estopped from asserting them, and yet Defendant has abrogated its

insurance coverage obligations pursuant to the policies clear and unambiguous terms and has

wrongfully and illegally refused to provide coverage to which Plaintiff and the other Class

members are entitled.

                                                   25

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       121.    Defendant has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Class has filed a claim.

       122.    An actual case or controversy exists regarding Plaintiff’s and the other Extra

Expense Declaratory Judgment Class members’ rights and Defendant’s obligations under the

policies to reimburse Plaintiff and the other Extra Expense Declaratory Judgment Class members

for the full amount of Extra Expense losses incurred by Plaintiff in connection with Closure Orders

and the necessary interruption of their businesses stemming from the COVID-19 pandemic.

       123.    Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Extra Expense Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

               a.     Plaintiff and the other Extra Expense Declaratory Judgment Class

                      members’ Extra Expense losses incurred in connection with the Closure

                      Orders and the necessary interruption of their businesses stemming from the

                      COVID-19 pandemic are insured losses under their policies;

               b.     Defendant is obligated to pay Plaintiff and the other Extra Expense

                      Declaratory Judgment Class members for the full amount of the Extra

                      Expense losses incurred and to be incurred in connection with the covered

                      losses related to the Closure Orders during the period of restoration and the

                      necessary interruption of their businesses stemming from the COVID-19

                      pandemic; and

               c.     Plaintiff further seeks an injection enjoining Defendant from continuing to

                      engage in conduct in breach of its policies in regards to coverage decisions

                      under the Extra Expense coverage form and ordering Defendant to comply


                                                26

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                         with the terms of the policies in regards to coverage decisions.

                 COUNT IV – Breach of Contract – Extra Expense Coverage
                   (Brought on behalf of the Extra Expense Breach Class)

       124.    Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

       125.    Plaintiff brings this Count individually and on behalf of the other members of the

Extra Expense Breach Class and Missouri Subclass.

       126.    Plaintiff’ Cincinnati insurance policies, as well as those of the other Extra Expense

Breach Class members, are contracts under which Defendant was paid premiums in exchange for

its promise to pay Plaintiff and the other Extra Expense Breach Class members’ losses for claims

covered by the policy.

       127.    In the Building and Personal Property Coverage Form and Business Income (And

Extra Expense) Coverage Form, Defendant also agreed to pay necessary Extra Expense that its

insureds incur during the “period of restoration” that the insureds would not has sustained if there

had been no direct loss to property caused by or resulting from a Covered Cause of Loss.

       128.    “Extra Expense” includes expenses to avoid or minimize the suspension of

business, continue operations, and to repair or replace property.

       129.    Due to COVID-19 and the Closure Orders, Plaintiff and the other members of the

Extra Expense Breach Class incurred Extra Expense at Covered Property Plaintiff and the other

members of the Extra Expense Breach Class has complied with all applicable provisions of the

policies and/or those provisions has been waived by Defendant, or Defendant is estopped from

asserting them, and yet Defendant has abrogated its insurance coverage obligations pursuant to the

policies’ clear and unambiguous terms.

       130.    By denying coverage for any business losses incurred by Plaintiff and the other

members of the Extra Expense Breach Class in connection with the Closure Orders and the

                                                  27

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COVID-19 pandemic, Defendant has breached its coverage obligations under the policies.

        131.    As a result of Defendant’s breaches of the policies, Plaintiff and the other members

of the Extra Expense Breach Class has sustained substantial damages for which Defendant is liable,

in an amount to be established at trial.

              COUNT V – Declaratory Judgment – Civil Authority Coverage
           (Brought on behalf of the Civil Authority Declaratory Judgment Class)

        132.    Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

        133.    Plaintiff brings this Count individually and on behalf of the other members of the

Civil Authority Declaratory Judgment Class and Missouri Subclass.

        134.    The Declaratory Judgment Act, 28 U.S.C. §§2201 and 2202, allows this Court to

declare the rights and other legal relations of the parties to this dispute.

        135.    Plaintiff’s Cincinnati insurance policy, as well as those of the other Civil Authority

Declaratory Judgment Class members, are contracts under which Defendant was paid premiums

in exchange for its promise to pay Plaintiff and the other Civil Authority Declaratory Judgment

Class members’ losses for claims covered by the policy.

        136.    Plaintiff and the other Civil Authority Declaratory Judgment Class members have

complied with all applicable provisions of the policies and/or those provisions has been waived by

Defendant, or Defendant is estopped from asserting them, and yet Defendant has abrogated its

insurance coverage obligations pursuant to the policies’ clear and unambiguous terms and has

wrongfully and illegally refused to provide coverage to which Plaintiff and the other Class

members are entitled.

        137.    Defendant has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Class has filed a claim.

                                                   28

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       138.   An actual case or controversy exists regarding Plaintiff and the other Civil

Authority Declaratory Judgment Class members’ rights and Defendant’s obligations under the

policies to reimburse Plaintiff and the other Civil Authority Declaratory Judgment Class members

for the full amount of covered Civil Authority losses incurred by Plaintiff and the other Civil

Authority Declaratory Judgment Class members in connection with Closure Orders and the

necessary interruption of their businesses stemming from the COVID-19 pandemic.

       139.   Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Civil Authority Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

              a.      Plaintiff and the other Civil Authority Declaratory Judgment Class

                      members’ Civil Authority losses incurred in connection with the Closure

                      Orders and the necessary interruption of their businesses stemming from the

                      COVID-19 pandemic are insured losses under their policies;

              b.      Defendant is obligated to pay Plaintiff and the other Civil Authority

                      Declaratory Judgment Class members the full amount of the Civil Authority

                      losses incurred and to be incurred in connection with the covered losses

                      related to the Closure Orders and the necessary interruption of their

                      businesses stemming from the COVID-19 pandemic; and

              c.      Plaintiff further seeks an injection enjoining Defendant from continuing to

                      engage in conduct in breach of its policies in regards to coverage decisions

                      under the Civil Authority coverage form and ordering Defendant to comply

                      with the terms of the policies in regards to coverage decisions.

               COUNT VI – Breach of Contract – Civil Authority Coverage
                 (Brought on behalf of the Civil Authority Breach Class)

       140.   Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

                                                29

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        141.    Plaintiff brings this Count individually and on behalf of the other members of the

Civil Authority Breach Class and Missouri Subclass.

        142.    Plaintiff’s Cincinnati insurance policies, as well as those of the other Civil

Authority Breach Class members, are contracts under which Defendant was paid premiums in

exchange for its promise to pay Plaintiff and the other Civil Authority Breach Class members’

losses for claims covered by the policy.

        143.    Defendant agreed to “pay for the actual loss of ‘Business Income’” sustained “and

necessary Extra Expense” sustained “caused by action of civil authority that prohibits access to”

the Covered Property when a Covered Cause of Loss causes direct damage to property other than

the Covered Property, the civil authority prohibits access to the area immediately surrounding the

damaged property, and “the action of civil authority is taken in response to dangerous physical

conditions resulting from the damage or continuation of the Covered Cause of Loss that caused

the damage….”

        144.    The Closure Orders triggered the Civil Authority provision under Plaintiff and the

other members of the Civil Authority Breach Class’s Cincinnati insurance policies.

        145.    Plaintiff and the other members of the Civil Authority Breach Class has complied

with all applicable provisions of the policies, and/or those provisions has been waived by

Defendant, or Defendant is estopped from asserting them, and yet Defendant has abrogated its

insurance coverage obligations pursuant to the Policies’ clear and unambiguous terms.

        146.    By denying coverage for any business losses incurred and extra expenses sustained

by Plaintiff and other members of the Civil Authority Breach Class in connection with the Closure

Orders and the COVID-19 pandemic, Defendant has breached its coverage obligations under the

policies.


                                                30

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        147.    As a result of Defendant’s breaches of the policies, Plaintiff and the other members

of the Civil Authority Breach Class has sustained substantial damages for which Defendant is

liable, in an amount to be established at trial.

              COUNT VII – Declaratory Judgment – Sue and Labor Coverage
           (Brought on behalf of the Sue and Labor Declaratory Judgment Class)

        148.    Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

        149.    Plaintiff brings this Count individually and on behalf of the other members of the

Sue and Labor Declaratory Judgment Class and Missouri Subclass.

        150.    The Declaratory Judgment Act, 28 U.S.C. §§2201 and 2202, allows this Court to

declare the rights and other legal relations of the parties to this dispute.

        151.    Plaintiff’s Cincinnati insurance policy, as well as those of the other Sue and Labor

Declaratory Judgment Class members, are contracts under which Defendant was paid premiums

in exchange for its promise to pay Plaintiff and the other Sue and Labor Declaratory Judgment

Class members’ reasonably incurred expenses to protect Covered Property.

        152.    Plaintiff and the other Sue and Labor Declaratory Judgment Class members has

complied with all applicable provisions of the policies and/or those provisions has been waived by

Defendant, or Defendant is estopped from asserting them, and yet Defendant has abrogated its

insurance coverage obligations pursuant to the policies’ clear and unambiguous terms and has

wrongfully and illegally refused to provide coverage to which Plaintiff is entitled.

        153.    Defendant has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Class has filed a claim.

        154.    An actual case or controversy exists regarding Plaintiff and the other Sue and Labor

Declaratory Judgment Class members’ rights and Defendant’s obligations under the policies to

                                                   31

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reimburse Plaintiff and the other Sue and Labor Declaratory Judgment Class members for the full

amount Plaintiff and the other members of the Sue and Labor Declaratory Judgment Class

reasonably incurred to protect Covered Property from further damage by COVID-19.

       155.   Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Sue and Labor Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

              a.     Plaintiff and the other Sue and Labor Declaratory Judgment Class members

                     reasonably incurred expenses to protect Covered Property from further

                     damage by COVID-19 are insured losses under their policies; and

              b.     Defendant is obligated to pay Plaintiff and the other Sue and Labor

                     Declaratory Judgment Class members for the full amount of the expenses

                     they reasonably incurred to protect Covered Property from further damage

                     by COVID-19.

              c.     Plaintiff further seeks an injection enjoining Defendant from continuing to

                     engage in conduct in breach of its policies in regards to coverage decisions

                     under the Sue and Labor coverage form and ordering Defendant to comply

                     with the terms of the policies in regards to coverage decisions.

               COUNT VIII – Breach of Contract – Sue and Labor Coverage
                 (Brought on behalf of the Sue and Labor Breach Class)

       156.   Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

       157.   Plaintiff brings this Count individually and on behalf of the other members of the

Sue and Labor Breach Class and Missouri Subclass.

       158.   Plaintiff’s Cincinnati policies, as well as those of the other Sue and Labor Breach

Class members, are contracts under which Defendant was paid premiums in exchange for its

promise to pay Plaintiff and the other Sue and Labor Breach Class members’ losses for claims

                                                32

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covered by the policy.

       159.    In the Building and Personal Property Coverage Form and Business Income (And

Extra Expense) Coverage Form, Defendant agreed to give due consideration in settlement of a

claim to expenses incurred in taking all reasonable steps to protect Covered Property from further

damage.

       160.    In complying with the Closure Orders and otherwise suspending or limiting

operations, Plaintiff and other members of the Sue and Labor Breach Class incurred expenses in

connection with reasonable steps to protect Covered Property.

       161.    Plaintiff and the other members of the Sue and Labor Breach Class has complied

with all applicable provisions of the policy and/or those provisions has been waived by Defendant,

or Defendant is estopped from asserting them, and yet Defendant has abrogated its insurance

coverage obligations pursuant to the policies’ clear and unambiguous terms.

       162.    By denying coverage for any Sue and Labor expenses incurred by Plaintiff and the

other members of the Sue and Labor Breach Class in connection with the Closure Orders and the

COVID-19 pandemic, Defendant has breached its coverage obligations under the policies.

       163.    As a result of Defendant’s breaches of the policies, Plaintiff and the other members

of the Sue and Labor Breach Class has sustained substantial damages for which Defendant is liable,

in an amount to be established at trial.

               COUNT IX – Declaratory Judgment – Sue and Labor Coverage
          (Brought on behalf of the Ingress and Egress Declaratory Judgment Class)

       164.    Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

       165.    Plaintiff brings this Count individually and on behalf of the other members of the

Ingress and Egress Declaratory Judgment Class and Missouri Subclass.

       166.    The Declaratory Judgment Act, 28 U.S.C. §§2201 and 2202, allows this Court to

                                                 33

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declare the rights and other legal relations of the parties to this dispute.

        167.    Plaintiff’s Cincinnati insurance policy, as well as those of the other Ingress and

Egress Declaratory Judgment Class members, are contracts under which Defendant was paid

premiums in exchange for its promise to pay Plaintiff and the other Ingress and Egress Declaratory

Judgment Class members’ reasonably incurred expenses to protect Covered Property.

        168.    Plaintiff and the other Ingress and Egress Declaratory Judgment Class members

have complied with all applicable provisions of the policies and/or those provisions has been

waived by Defendant, or Defendant is estopped from asserting them, and yet Defendant has

abrogated its insurance coverage obligations pursuant to the policies’ clear and unambiguous terms

and has wrongfully and illegally refused to provide coverage to which Plaintiff is entitled.

        169.    Defendant has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Class has filed a claim.

        170.    An actual case or controversy exists regarding Plaintiff and the other Ingress and

Egress Declaratory Judgment Class members’ rights and Defendant’s obligations under the

policies to reimburse Plaintiff and the other Ingress and Egress Declaratory Judgment Class

members for the full amount Plaintiff and the other members of the Ingress and Egress Declaratory

Judgment Class reasonably incurred to protect Covered Property from further damage by COVID-

19.

        171.    Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Ingress and Egress Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

                a.      Plaintiff and the other Ingress and Egress Declaratory Judgment Class

                        members reasonably incurred expenses to protect Covered Property from


                                                   34

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                      further damage by COVID-19 are insured losses under their policies; and

               b.     Defendant is obligated to pay Plaintiff and the other Ingress and Egress

                      Declaratory Judgment Class members for the full amount of the expenses

                      they reasonably incurred to protect Covered Property from further damage

                      by COVID-19.

               c.     Plaintiff further seeks an injection enjoining Defendant from continuing to

                      engage in conduct in breach of its policies in regards to coverage decisions

                      under the Ingress and Egress coverage form and ordering Defendant to

                      comply with the terms of the policies in regards to coverage decisions.

              COUNT X – Breach of Contract – Ingress and Egress Coverage
               (Brought on behalf of the Ingress and Egress Breach Class)

       172.    Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

       173.    Plaintiff brings this Count individually and on behalf of the other members of the

Ingress and Egress Breach Class and Missouri Subclass.

       174.    Plaintiff’s Cincinnati policies, as well as those of the other Ingress and Egress

Breach Class members, are contracts under which Defendant was paid premiums in exchange for

its promise to pay Plaintiff and the other Ingress and Egress Breach Class members’ losses for

claims covered by the policy.

       175.    In the Building and Personal Property Coverage Form and Business Income (And

Extra Expense) Coverage Form, Defendant agreed to give due consideration in settlement of a

claim to expenses incurred in taking all reasonable steps to protect Covered Property from further

damage.

       176.    In complying with the Closure Orders and otherwise suspending or limiting

operations, Plaintiff and other members of the Ingress and Egress Breach Class incurred expenses

                                                 35

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in connection with reasonable steps to protect Covered Property.

        177.    Plaintiff and the other members of the Ingress and Egress Breach Class have

complied with all applicable provisions of the policy and/or those provisions has been waived by

Defendant, or Defendant is estopped from asserting them, and yet Defendant has abrogated its

insurance coverage obligations pursuant to the policies’ clear and unambiguous terms.

        178.    By denying coverage for any Ingress and Egress expenses incurred by Plaintiff and

the other members of the Ingress and Egress Breach Class in connection with the Closure Orders

and the COVID-19 pandemic, Defendant has breached its coverage obligations under the policies.

        179.    As a result of Defendant’s breaches of the policies, Plaintiff and the other members

of the Ingress and Egress Breach Class has sustained substantial damages for which Defendant is

liable, in an amount to be established at trial.

VII.    REQUEST FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of the other Class and/or Subclass

members, respectfully requests that the Court enter judgment in their favor and against Defendant

as follows:

        a.      That the Court enter an order certifying the classes, appointing Plaintiff as a

representative of the classes, appointing Plaintiff’s counsel as class counsel, and directing that

reasonable notice of this action, as provided by Federal Rule of Civil Procedure 23(c)(2), be given

to the class;

        b.      For a judgment against Defendant for the causes of action alleged against it;

        c.      For compensatory damages in an amount to be proven at trial;

        d.      For a declaration that Defendant’s conduct as alleged herein is unlawful and in

material breach of the policy;


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        e.       For appropriate injunctive relief, enjoining Defendant from continuing to engage in

conduct related to the breach of the policy;

        f.       For pre-judgment and post-judgment interest at the maximum rate permitted by

law;

        g.       For Plaintiff’s attorneys’ fees;

        h.       For Plaintiff’s costs incurred; and

        i.       For such other and further relief as the Court deems just and proper.

VIII. DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demand a trial

by jury on all matters so triable.



Dated: April 27, 2020                                    Respectfully submitted by:

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